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 9
                           UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11                                                ) Case No.
      ROBERT BOHLKE, individually and )
12
      on behalf of all others similarly situated, ) CLASS ACTION
13                                                )
14    Plaintiff,                                  ) COMPLAINT FOR VIOLATIONS
                                                  ) OF:
15           vs.                                  )
16                                                )    1.    NEGLIGENT VIOLATIONS
                                                             OF THE TELEPHONE
      GENERAL MOTORS FINANCIAL                    )          CONSUMER PROTECTION
17
      COMPANY, INC., and DOES 1                   )          ACT [47 U.S.C. §227(b)]
18    through 10, inclusive, and each of them, )       2.    WILLFUL VIOLATIONS
                                                             OF THE TELEPHONE
19                                                )          CONSUMER PROTECTION
      Defendant.                                  )          ACT [47 U.S.C. §227(b)]
20                                                )    3.    NEGLIGENT VIOLATIONS
                                                             OF THE TELEPHONE
21                                                )          CONSUMER PROTECTION
                                                  )          ACT [47 U.S.C. §227(c)]
22                                                     4.    WILLFUL VIOLATIONS
                                                  )
                                                             OF THE TELEPHONE
23                                                )          CONSUMER PROTECTION
                                                  )          ACT [47 U.S.C. §227(c)]
24
                                                  )
25                                                )
26                                                ) DEMAND FOR JURY TRIAL
                                                  )
27                                                )
28                                                )


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 1          Plaintiff ROBERT BOHLKE (“Plaintiff”), individually and on behalf of all
 2    others similarly situated, alleges the following upon information and belief based
 3    upon personal knowledge:
 4                               NATURE OF THE CASE
 5          1.     Plaintiff brings this action individually and on behalf of all others
 6    similarly situated seeking damages and any other available legal or equitable
 7    remedies resulting from the illegal actions of GENERAL MOTORS FINANCIAL
 8    COMPANY, INC (“Defendant”), in negligently, knowingly, and/or willfully
 9    contacting Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone
10    Consumer Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”) and related
11    regulations, specifically the National Do-Not-Call provisions, thereby invading
12    Plaintiff’s privacy.
13                              JURISDICTION & VENUE
14          2.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
15    a resident of California, seeks relief on behalf of a Class, which will result in at
16    least one class member belonging to a different state than that of Defendant, a
17    Texas corporation. Plaintiff also seeks up to $1,500.00 in damages for each call in
18    violation of the TCPA, which, when aggregated among a proposed class in the
19    thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
20    Therefore, both diversity jurisdiction and the damages threshold under the Class
21    Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
22          3.     Venue is proper in the United States District Court for the Central
23    District of California pursuant to 28 U.S.C. 1391(b) and because Defendant does
24    business within the State of California and Plaintiff resides within the County of
25    Los Angeles.
26                                        PARTIES
27          4.     Plaintiff, ROBERT BOHLKE (“Plaintiff”), is a natural person
28    residing in Los Angeles, California and is a “person” as defined by 47 U.S.C. § 153


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 1    (39).
 2            5.    Defendant, GENERAL MOTORS FINANCIAL COMPANY, INC
 3    (“Defendant”), is a finance company, and is a “person” as defined by 47 U.S.C. §
 4    153 (39).
 5            6.    The above named Defendant, and its subsidiaries and agents, are
 6    collectively referred to as “Defendants.” The true names and capacities of the
 7    Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 8    currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 9    names. Each of the Defendants designated herein as a DOE is legally responsible
10    for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
11    Complaint to reflect the true names and capacities of the DOE Defendants when
12    such identities become known.
13            7.    Plaintiff is informed and believes that at all relevant times, each and
14    every Defendant was acting as an agent and/or employee of each of the other
15    Defendants and was acting within the course and scope of said agency and/or
16    employment with the full knowledge and consent of each of the other Defendants.
17    Plaintiff is informed and believes that each of the acts and/or omissions complained
18    of herein was made known to, and ratified by, each of the other Defendants.
19                               FACTUAL ALLEGATIONS
20            8.    Beginning in or around September of 2017, Defendant contacted
21    Plaintiff on Plaintiff’s cellular telephone number ending in -9695, in an attempt to
22    solicit Plaintiff to purchase Defendant’s services.
23            9.    Defendant used an “automatic telephone dialing system” as defined
24    by 47 U.S.C. § 227(a)(1) to place its call to Plaintiff seeking to solicit its services.
25            10.   Defendant contacted or attempted to contact Plaintiff from telephone
26    number (949) 272-9307, confirmed to belong to Defendant.
27            11.   Defendant’s calls constituted calls that were not for emergency
28    purposes as defined by 47 U.S.C. § 227(b)(1)(A).


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 1          12.    During all relevant times, Defendant did not possess Plaintiff’s “prior
 2    express consent” to receive calls using an automatic telephone dialing system or an
 3    artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
 4    227(b)(1)(A).
 5          13.    Further, Plaintiff’s cellular telephone number ending in -9695 was
 6    added to the National Do-Not-Call Registry on or about July 27, 2003.
 7          14.    Defendant placed multiple calls soliciting its business to Plaintiff on
 8    his cellular telephone ending in -9695 in or around September 2017.
 9          15.    Such calls constitute solicitation calls pursuant to 47 C.F.R. §
10    64.1200(c)(2) as they were attempts to promote or sell Defendant’s services.
11          16.    Plaintiff received numerous solicitation calls from Defendant within a
12    12-month period.
13          17.    Plaintiff requested for Defendant to stop calling Plaintiff during one
14    of the initial calls from Defendant, thus revoking any prior express consent that had
15    existed and terminating any established business relationship that had existed, as
16    defined under 16 C.F.R. 310.4(b)(1)(iii)(B).
17          18.    Despite this, Defendant continued to call Plaintiff in an attempt to
18    solicit its services and in violation of the National Do-Not-Call provisions of the
19    TCPA.
20          19.    Upon information and belief, and based on Plaintiff’s experiences of
21    being called by Defendant after requesting they stop calling, and at all relevant
22    times, Defendant failed to establish and implement reasonable practices and
23    procedures to effectively prevent telephone solicitations in violation of the
24    regulations prescribed under 47 U.S.C. § 227(c)(5).
25                                CLASS ALLEGATIONS
26          20.    Plaintiff brings this action individually and on behalf of all others
27    similarly situated, as a member the four proposed classes (hereafter, jointly, “The
28    Classes”). The class concerning the ATDS claim for no prior express consent


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 1    (hereafter “The ATDS Class”) is defined as follows:
 2
                    All persons within the United States who received any
 3                  solicitation/telemarketing   telephone   calls    from
 4                  Defendant to said person’s cellular telephone made
                    through the use of any automatic telephone dialing
 5
                    system or an artificial or prerecorded voice and such
 6                  person had not previously consented to receiving such
 7
                    calls within the four years prior to the filing of this
                    Complaint
 8
 9          21.     The class concerning the ATDS claim for revocation of consent, to the
10    extent prior consent existed (hereafter “The ATDS Revocation Class”) is defined
11    as follows:
12
                    All persons within the United States who received any
13                  solicitation/telemarketing     telephone      calls    from
14                  Defendant to said person’s cellular telephone made
                    through the use of any automatic telephone dialing
15
                    system or an artificial or prerecorded voice and such
16                  person had revoked any prior express consent to receive
17                  such calls prior to the calls within the four years prior to
                    the filing of this Complaint.
18
19          22.     The class concerning the National Do-Not-Call violation (hereafter
20    “The DNC Class”) is defined as follows:
21
                    All persons within the United States registered on the
22
                    National Do-Not-Call Registry for at least 30 days, who
23                  had not granted Defendant prior express consent nor had
24                  a prior established business relationship, who received
                    more than one call made by or on behalf of Defendant
25                  that promoted Defendant’s products or services, within
26                  any twelve-month period, within four years prior to the
                    filing of the complaint.
27
            23.     The class concerning the National Do-Not-Call violation following
28



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 1    revocation of consent and prior business relationship, to the extent they existed
 2    (hereafter “The DNC Revocation Class”) is defined as follows:
 3
                   All persons within the United States registered on the
 4                 National Do-Not-Call Registry for at least 30 days, who
 5                 received more than one call made by or on behalf of
                   Defendant that promoted Defendant’s products or
 6
                   services, after having revoked consent and any prior
 7                 established business relationship, within any twelve-
 8
                   month period, within four years prior to the filing of the
                   complaint.
 9
10          24.    Plaintiff represents, and is a member of, The ATDS Class, consisting
11    of all persons within the United States who received any solicitation telephone calls
12    from Defendant to said person’s cellular telephone made through the use of any
13    automatic telephone dialing system or an artificial or prerecorded voice and such
14    person had not previously not provided their cellular telephone number to
15    Defendant within the four years prior to the filing of this Complaint.
16          25.    Plaintiff represents, and is a member of, The ATDS Revocation Class,
17    consisting of all persons within the United States who received any
18    solicitation/telemarketing telephone calls from Defendant to said person’s cellular
19    telephone made through the use of any automatic telephone dialing system or an
20    artificial or prerecorded voice and such person had revoked any prior express
21    consent to receive such calls prior to the calls within the four years prior to the
22    filing of this Complaint.
23          26.    Plaintiff represents, and is a member of, The DNC Class, consisting
24    of all persons within the United States registered on the National Do-Not-Call
25    Registry for at least 30 days, who had not granted Defendant prior express consent
26    nor had a prior established business relationship, who received more than one call
27    made by or on behalf of Defendant that promoted Defendant’s products or services,
28    within any twelve-month period, within four years prior to the filing of the


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 1    complaint.
 2          27.    Plaintiff represents, and is a member of, The DNC Revocation Class,
 3    consisting of all persons within the United States registered on the National Do-
 4    Not-Call Registry for at least 30 days, who received more than one call made by or
 5    on behalf of Defendant that promoted Defendant’s products or services, after
 6    having revoked consent and any prior established business relationship, within any
 7    twelve-month period, within four years prior to the filing of the complaint.
 8          28.    Defendant, its employees and agents are excluded from The Classes.
 9    Plaintiff does not know the number of members in The Classes, but believes the
10    Classes members number in the thousands, if not more. Thus, this matter should
11    be certified as a Class Action to assist in the expeditious litigation of the matter.
12          29.    The Classes are so numerous that the individual joinder of all of its
13    members is impractical. While the exact number and identities of The Classes
14    members are unknown to Plaintiff at this time and can only be ascertained through
15    appropriate discovery, Plaintiff is informed and believes and thereon alleges that
16    The Classes includes thousands of members. Plaintiff alleges that The Classes
17    members may be ascertained by the records maintained by Defendant.
18          30.    Plaintiff and members of The ATDS Class and The ATDS Revocation
19    Class were harmed by the acts of Defendant in at least the following ways:
20    Defendant illegally contacted Plaintiff and ATDS Class members via their cellular
21    telephones thereby causing Plaintiff and ATDS Class and ATDS Revocation Class
22    members to incur certain charges or reduced telephone time for which Plaintiff and
23    ATDS Class and ATDS Revocation Class members had previously paid by having
24    to retrieve or administer messages left by Defendant during those illegal calls, and
25    invading the privacy of said Plaintiff and ATDS Class and ATDS Revocation Class
26    members.
27          31.    Common questions of fact and law exist as to all members of The
28    ATDS Class which predominate over any questions affecting only individual


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 1    members of The ATDS Class. These common legal and factual questions, which
 2    do not vary between ATDS Class members, and which may be determined without
 3    reference to the individual circumstances of any ATDS Class members, include,
 4    but are not limited to, the following:
 5                 a.     Whether, within the four years prior to the filing of this
 6                        Complaint, Defendant made any telemarketing/solicitation call
 7                        (other than a call made for emergency purposes or made with
 8                        the prior express consent of the called party) to a ATDS Class
 9                        member using any automatic telephone dialing system or any
10                        artificial or prerecorded voice to any telephone number
11                        assigned to a cellular telephone service;
12                 b.     Whether Plaintiff and the ATDS Class members were damaged
13                        thereby, and the extent of damages for such violation; and
14                 c.     Whether Defendant should be enjoined from engaging in such
15                        conduct in the future.
16          32.    As a person that received numerous telemarketing/solicitation calls
17    from Defendant using an automatic telephone dialing system or an artificial or
18    prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
19    claims that are typical of The ATDS Class.
20          33.    Common questions of fact and law exist as to all members of The
21    ATDS Revocation Class which predominate over any questions affecting only
22    individual members of The ATDS Revocation Class. These common legal and
23    factual questions, which do not vary between ATDS Revocation Class members,
24    and which may be determined without reference to the individual circumstances of
25    any ATDS Revocation Class members, include, but are not limited to, the
26    following:
27                 a.     Whether, within the four years prior to the filing of this
28                        Complaint, Defendant made any telemarketing/solicitation call


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 1                       (other than a call made for emergency purposes or made with
 2                       the prior express consent of the called party) to an ATDS
 3                       Revocation Class member, who had revoked any prior express
 4                       consent to be called using an ATDS, using any automatic
 5                       telephone dialing system or any artificial or prerecorded voice
 6                       to any telephone number assigned to a cellular telephone
 7                       service;
 8                 b.    Whether Plaintiff and the ATDS Revocation Class members
 9                       were damaged thereby, and the extent of damages for such
10                       violation; and
11                 c.    Whether Defendant should be enjoined from engaging in such
12                       conduct in the future.
13          34.    As a person that received numerous telemarketing/solicitation calls
14    from Defendant using an automatic telephone dialing system or an artificial or
15    prerecorded voice, after Plaintiff had revoked any prior express consent, Plaintiff
16    is asserting claims that are typical of The ATDS Revocation Class.
17          35.    Plaintiff and members of The DNC Class and DNC Revocation Class
18    were harmed by the acts of Defendant in at least the following ways: Defendant
19    illegally contacted Plaintiff and DNC Class and DNC Revocation Class members
20    via their telephones for solicitation purposes, thereby invading the privacy of said
21    Plaintiff and the DNC Class and DNC Revocation Class members whose telephone
22    numbers were on the National Do-Not-Call Registry. Plaintiff and the DNC Class
23    and DNC Revocation Class members were damaged thereby.
24          36.    Common questions of fact and law exist as to all members of The
25    DNC Class which predominate over any questions affecting only individual
26    members of The DNC Class. These common legal and factual questions, which do
27    not vary between DNC Class members, and which may be determined without
28    reference to the individual circumstances of any DNC Class members, include, but


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 1     are not limited to, the following:
 2                  a.     Whether, within the four years prior to the filing of this
 3                         Complaint, Defendant or its agents placed more than one
 4                         solicitation call to the members of the DNC Class whose
 5                         telephone numbers were on the National Do-Not-Call Registry
 6                         and who had not granted prior express consent to Defendant and
 7                         did not have an established business relationship with
 8                         Defendant;
 9                  b.     Whether Defendant obtained prior express written consent to
10                         place solicitation calls to Plaintiff or the DNC Class members’
11                         telephones;
12                  c.     Whether Plaintiff and the DNC Class member were damaged
13                         thereby, and the extent of damages for such violation; and
14                  d.     Whether Defendant and its agents should be enjoined from
15                         engaging in such conduct in the future.
16           37.    As a person that received numerous solicitation calls from Defendant
17     within a 12-month period, who had not granted Defendant prior express consent
18     and did not have an established business relationship with Defendant, Plaintiff is
19     asserting claims that are typical of the DNC Class.
20           38.    Common questions of fact and law exist as to all members of The
21     DNC Class which predominate over any questions affecting only individual
22     members of The DNC Revocation Class.             These common legal and factual
23     questions, which do not vary between DNC Revocation Class members, and which
24     may be determined without reference to the individual circumstances of any DNC
25     Revocation Class members, include, but are not limited to, the following:
26                  a.     Whether, within the four years prior to the filing of this
27                         Complaint, Defendant or its agents placed more than one
28                         solicitation call to the members of the DNC Class whose


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 1                        telephone numbers were on the National Do-Not-Call Registry
 2                        and who had revoked any prior express consent and any
 3                        established business relationship with Defendant;
 4                  b.    Whether Plaintiff and the DNC Class member were damaged
 5                        thereby, and the extent of damages for such violation; and
 6                  c.    Whether Defendant and its agents should be enjoined from
 7                        engaging in such conduct in the future.
 8           39.    As a person that received numerous solicitation calls from Defendant
 9     within a 12-month period, who, to the extent one existed, had revoked any prior
10     express consent and any established business relationship with Defendant, Plaintiff
11     is asserting claims that are typical of the DNC Revocation Class.
12           40.    Plaintiff will fairly and adequately protect the interests of the members
13     of The Classes. Plaintiff has retained attorneys experienced in the prosecution of
14     class actions.
15           41.    A class action is superior to other available methods of fair and
16     efficient adjudication of this controversy, since individual litigation of the claims
17     of all Classes members is impracticable. Even if every Classes member could
18     afford individual litigation, the court system could not. It would be unduly
19     burdensome to the courts in which individual litigation of numerous issues would
20     proceed. Individualized litigation would also present the potential for varying,
21     inconsistent, or contradictory judgments and would magnify the delay and expense
22     to all parties and to the court system resulting from multiple trials of the same
23     complex factual issues. By contrast, the conduct of this action as a class action
24     presents fewer management difficulties, conserves the resources of the parties and
25     of the court system, and protects the rights of each Classes member.
26           42.    The prosecution of separate actions by individual Classes members
27     would create a risk of adjudications with respect to them that would, as a practical
28     matter, be dispositive of the interests of the other Classes members not parties to


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 1     such adjudications or that would substantially impair or impede the ability of such
 2     non-party Class members to protect their interests.
 3           43.     Defendant has acted or refused to act in respects generally applicable
 4     to The Classes, thereby making appropriate final and injunctive relief with regard
 5     to the members of the Classes as a whole.
 6                               FIRST CAUSE OF ACTION
 7            Negligent Violations of the Telephone Consumer Protection Act
 8                                      47 U.S.C. §227(b).
 9                 On Behalf of the ATDS Class and ATDS Revocation Class
10           44.     Plaintiff repeats and incorporates by reference into this cause of action
11     the allegations set forth above at Paragraphs 1-43.
12           45.     The foregoing acts and omissions of Defendant constitute numerous
13     and multiple negligent violations of the TCPA, including but not limited to each
14     and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
15     47 U.S.C. § 227 (b)(1)(A).
16           46.     As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),
17     Plaintiff and the Class Members are entitled an award of $500.00 in statutory
18     damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
19           47.     Plaintiff and the ATDS Class and ATDS Revocation Class members
20     are also entitled to and seek injunctive relief prohibiting such conduct in the future.
21                              SECOND CAUSE OF ACTION
22      Knowing and/or Willful Violations of the Telephone Consumer Protection
23                                              Act
24                                      47 U.S.C. §227(b)
25             On Behalf of the ATDS Class and the ATDS Revocation Class
26           48.     Plaintiff repeats and incorporates by reference into this cause of action
27     the allegations set forth above at Paragraphs 1-43.
28           49.     The foregoing acts and omissions of Defendant constitute numerous


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 1     and multiple knowing and/or willful violations of the TCPA, including but not
 2     limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
 3     and in particular 47 U.S.C. § 227 (b)(1)(A).
 4           50.    As a result of Defendant’s knowing and/or willful violations of 47
 5     U.S.C. § 227(b), Plaintiff and the ATDS Class and ATDS Revocation Class
 6     members are entitled an award of $1,500.00 in statutory damages, for each and
 7     every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 8           51.    Plaintiff and the Class members are also entitled to and seek injunctive
 9     relief prohibiting such conduct in the future.
10                               THIRD CAUSE OF ACTION
11            Negligent Violations of the Telephone Consumer Protection Act
12                                     47 U.S.C. §227(c)
13              On Behalf of the DNC Class and the DNC Revocation Class
14           52.    Plaintiff repeats and incorporates by reference into this cause of action
15     the allegations set forth above at Paragraphs 1-43.
16           53.    The foregoing acts and omissions of Defendant constitute numerous
17     and multiple negligent violations of the TCPA, including but not limited to each
18     and every one of the above cited provisions of 47 U.S.C. § 227(c), and in particular
19     47 U.S.C. § 227 (c)(5).
20           54.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(c),
21     Plaintiff and the DNC Class and DNC Revocation Class Members are entitled an
22     award of $500.00 in statutory damages, for each and every violation, pursuant to
23     47 U.S.C. § 227(c)(5)(B).
24           55.    Plaintiff and the DNC Class and DNC Revocation Class members are
25     also entitled to and seek injunctive relief prohibiting such conduct in the future.
26     ///
27     ///
28     ///


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 1                             FOURTH CAUSE OF ACTION
 2      Knowing and/or Willful Violations of the Telephone Consumer Protection
 3                                             Act
 4                                   47 U.S.C. §227 et seq.
 5                 On Behalf of the DNC Class and DNC Revocation Class
 6           56.    Plaintiff repeats and incorporates by reference into this cause of action
 7     the allegations set forth above at Paragraphs 1-43.
 8           57.    The foregoing acts and omissions of Defendant constitute numerous
 9     and multiple knowing and/or willful violations of the TCPA, including but not
10     limited to each and every one of the above cited provisions of 47 U.S.C. § 227(c),
11     in particular 47 U.S.C. § 227 (c)(5).
12           58.    As a result of Defendant’s knowing and/or willful violations of 47
13     U.S.C. § 227(c), Plaintiff and the DNC Class and DNC Revocation Class members
14     are entitled an award of $1,500.00 in statutory damages, for each and every
15     violation, pursuant to 47 U.S.C. § 227(c)(5).
16           59.    Plaintiff and the DNC Class and DNC Revocation Class members are
17     also entitled to and seek injunctive relief prohibiting such conduct in the future.
18                                  PRAYER FOR RELIEF
19     WHEREFORE, Plaintiff requests judgment against Defendant for the following:
20                               FIRST CAUSE OF ACTION
21            Negligent Violations of the Telephone Consumer Protection Act
22                                     47 U.S.C. §227(b)
23                  As a result of Defendant’s negligent violations of 47 U.S.C.
24                  §227(b)(1), Plaintiff and the ATDS Class and ATDS Revocation
25                  Class members are entitled to and request $500 in statutory damages,
26                  for each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B).
27                  Any and all other relief that the Court deems just and proper.
28



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 1                           SECOND CAUSE OF ACTION
 2      Knowing and/or Willful Violations of the Telephone Consumer Protection
 3                                           Act
 4                                     47 U.S.C. §227(b)
 5                As a result of Defendant’s willful and/or knowing violations of 47
 6                U.S.C. §227(b)(1), Plaintiff and the ATDS Class and ATDS
 7                Revocation Class members are entitled to and request treble damages,
 8                as provided by statute, up to $1,500, for each and every violation,
 9                pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
10                Any and all other relief that the Court deems just and proper.
11                            THIRD CAUSE OF ACTION
12           Negligent Violations of the Telephone Consumer Protection Act
13                                     47 U.S.C. §227(c)
14                As a result of Defendant’s negligent violations of 47 U.S.C.
15                §227(c)(5), Plaintiff and the DNC Class and DNC Revocation Class
16                members are entitled to and request $500 in statutory damages, for
17                each and every violation, pursuant to 47 U.S.C. 227(c)(5).
18                Any and all other relief that the Court deems just and proper.
19                           FOURTH CAUSE OF ACTION
20      Knowing and/or Willful Violations of the Telephone Consumer Protection
21                                           Act
22                                     47 U.S.C. §227(c)
23                As a result of Defendant’s willful and/or knowing violations of 47
24                U.S.C. §227(c)(5), Plaintiff and the DNC Class and DNC Revocation
25                Class members are entitled to and request treble damages, as provided
26                by statute, up to $1,500, for each and every violation, pursuant to 47
27                U.S.C. §227(c)(5).
28                Any and all other relief that the Court deems just and proper.


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 1           60.    Pursuant to the Seventh Amendment to the Constitution of the United
 2     States of America, Plaintiff is entitled to, and demands, a trial by jury.
 3
             Respectfully Submitted this 9th Day of August, 2018.
 4
                                  LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 5
 6                                       By: /s/ Todd M. Friedman
                                             Todd M. Friedman
 7
                                             Law Offices of Todd M. Friedman
 8                                           Attorney for Plaintiff
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